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                                                             October 8, 2021

The Honorable Valerie E. Caproni
United States District Judge
Southern District of New York
Thurgood Marshall Courthouse
                                                               MEMO ENDORSED
40 Foley Square
                                                                USDC SDNY
New York, New York 10007
                                                                DOCUMENT
                                                                ELECTRONICALLY FILED
Re: United States v. Luis Garcia
                                                                DOC #:
      20 Cr. 667 (VEC)
                                                                DATE FILED: 
Dear Judge Caproni:

        I represent Luis Garcia. Mr. Garcia respectfully requests that the Court amend the
conditions of his bail, to permit him to leave his residence to seek temporary employment until
his sentencing hearing on January 12, 2021.

        On February 3, 2021, Mr. Garcia’s bail conditions were set, inter alia, as follows: a
$100,000.00 personal recognizance bond (PRB) signed by three financially responsible persons,
home incarceration with electronic monitoring as determined by the pre-trial office and the usual
travel restrictions. Mr. Garcia has been in compliance with the terms of the bond.

        Mr. Garcia requests that a curfew as determined by the pretrial office be set to allow Him
to seek employment as a laborer at a moving company. He is also applying for a position at a fast
food restaurant.

       I have conferred with the Government and Garcia’s pre-trial officer. The Government
does not object to this request and the pre-trial officer defers to the judgment of the Government.
He takes no position.

                                                     Respectfully submitted,
                                                           /s/

                                                     Donald duBoulay

cc: Christopher Clore, AUSA
   Mohammad Ahmad, Pretrial Services Officer
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SO ORDERED.


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HON. VALERIE CAPRONI
UNITED STATES DISTRICT JUDGE
